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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS




In Re: DAILY FANTASY SPORTS                              MDL No. 1:16-MD-02677-GAO
LITIGATION


       This Document Relates To:
       All Actions




         DEFENDANTS’ JOINT REQUEST TO EXPEDITE SCHEDULING OF
          STATUS CONFERENCE REGARDING ARBITRATION DEMANDS
                     BY PURPORTED CLASS MEMBERS

          Defendants FanDuel, Inc. and DraftKings Inc. (“Defendants”) respectfully submit this

request to expedite the scheduling of the previously-requested status conference (ECF No. 394)

concerning arbitration demands by purported class members.

          On April 25, 2019, Defendants filed a request for a status conference to address issues

raised by demand letters sent to Defendants by the Keller Lenkner firm, which seek to resolve

arbitration claims by thousands of putative class members in this action on an aggregated basis.

(ECF No. 394.) Defendants’ request was unopposed. Id. For the reasons explained in that

filing, a status conference is necessary to minimize the harm to Defendants and the putative class

members that may otherwise arise as a result of the demand letters. Defendants’ discussions

with the Keller Lenkner firm and upcoming events related thereto increase the urgency of

obtaining the Court’s guidance on the issues raised in Defendants’ filing.
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          Accordingly, Defendants respectfully request that the Court schedule a status

conference regarding these issues for a convenient date in the month of June (or if a June date

cannot be accommodated, then the earliest date on which the Court is available).


Dated: June 11, 2019                         Respectfully submitted,

                                             FANDUEL, INC. and FANDUEL DEPOSITS, LLC

                                             By their counsel,
                                             ZWILLGEN PLLC

                                             By: /s/ Jacob A. Sommer
                                                Jacob A. Sommer
                                                Marc J. Zwillinger
                                                1900 M St. NW, Suite 250
                                                Washington, DC 20036
                                                Telephone: (202) 296-3585
                                                Facsimile: (202) 706-5298
                                                jake@zwillgen.com
                                                marc@zwillgen.com

                                             DRAFTKINGS, INC.

                                             By their counsel.
                                             BOIES SCHILLER FLEXNER LLP

                                             By: /s/ Damien J. Marshall
                                                Damien J. Marshall
                                                Leigh M. Nathanson
                                                BOIES SCHILLER FLEXNER LLP
                                                55 Hudson Yards
                                                New York, New York 10001
                                                Phone: (212) 446-2300
                                                dmarshall@bsfllp.com
                                                lnathanson@bsfllp.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of June 2019, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

pursuant to Local Rule 5.4(C).


Dated: June 11, 2019
                                                          /s/ Jacob A. Sommer
                                                              Jacob A. Sommer




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